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                                           July 17, 2020

BY EMAIL
Hon. James L. Garrity Jr.
United States Bankruptcy Court
Southern District of New York
One Bowling Green,
New York, New York 10004

               Re:     Genger v. Genger, et al., Adv. P. No. 01010-2020 (JLG)

Dear Judge Garrity:

              I am an attorney for plaintiff, Dalia Genger (“Dalia”), in the above-referenced
adversary proceeding. I write in response to the July 17, 2020 letter of various defendants
concerning plaintiff’s cross-motion for summary judgment.

               As plaintiff’s papers make clear, the basis for plaintiff’s cross-motion is the same
as her opposition to defendants’ motions to dismiss, namely that prior final adjudications of the
United States District Court are collateral estoppel and dispositive of the defenses raised by
defendants. It is ironic that defendants seek to delay this Court’s dispositive consideration of the
matter when it was they who abjectly refused my request for even a short adjournment and
demanded the Court’s immediate consideration. Nevertheless, while we believe that the motions
and the cross-motion are inextricably intertwined and that judicial economy dictates that they be
considered together, we defer to the court and will proceed upon whatever schedule the court
deems appropriate.

                 As a side note, defendants attempt, through their letter, to make a new argument
based upon an affidavit executed by Dalia in 2015. At that time, Dalia - consistent with her then-
fiduciary duties as trustee of the Orly Genger 1993 Trust - sought to intervene in a action pending
in state court for the purpose of having the $32.3 million Trump settlement proceeds placed into
escrow so the Court could allocate its proper share to the Trust. Unfortunately, the defendants in
this case, who were also parties in that case, vigorously opposed Dalia’s request, and the action
ended with the substance of the motion never decided. Dalia continues to maintain that the
Trust’s claim to the $32.3 million is superior to any of the debtor’s fraudulent transferees’
interest. However, no matter who rightfully holds the proceeds, Dalia has a constructive trust
upon $12.25 million of the $32.3 million for the reasons set forth in our brief.
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               Thank you for your consideration.

                                                   Very truly yours,


                                                          /s/
                                                   Ira Daniel Tokayer

cc:    By ECF
       Elizabeth Aboulafia, Esq.
       Raymond W. Battaglia, Esq.
       Rocco A. Cavaliere, Esq.
       John Dellaportas, Esq.
       Yann Geron, Esq.
       Christopher Kiplok, Esq.
       Andrew Kurland, Esq.
       Frank A. Oswald, Esq
